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                     Exhibit 4
Inmate/Parolee Locator   Case 2:24-cv-01608-WSS               Document 37-8      Filed 02/14/25   Page 2 of 2   1/21/25, 3:51 PM




                    Parolee Details
                    Pa ro l e N u m b e r : 590JF



                         Name                                   N a m e Ty p e         Image
                         DUANE YOUNGBLOOD                       Commit Name
                         DUANE ERIC YOUNGBLOOD                  Also Known As
                         MR YOUNGBLOOD                          Also Known As
                         MR. YOUNGBLOOD                         Also Known As


                         I n m a t e N u m b e r : LY8854
                         A g e : 58
                         D a t e o f B i r t h : 12/29/1966
                         H e i g h t : 5' 07"
                                                                                       8/12/2024 7:52:49 AM
                         We i g h t ( l b s ) : 208
                         G e n d e r : Male
                         C o m p l e x i o n : DARK
                         S t a t e : PENNSYLVANIA
                         R e l e a s e D a t e : 08/13/2024
                         L a s t U p d a t e d T i m e : 1/21/2025 4:01:03 AM



                              PRINT                                                               C LO S E




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